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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            :
                                                    :
                                                    :
                  v.                                : CASE NO. 21-CR-563 (JDB)
                                                    :
                                                    :
VICTORIA CHARITY WHITE,                             :
                                                    :
                         Defendant.                 :
                                                    :


                                  JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendant Victoria Charity White, by and through her attorney,

Nicole Ann Cubbage, now submit this joint status report, requested by the Court in its December

26, 2022 Order.

       1. On December 20, 2022, Pretrial Services for the District of Columbia filed a Pretrial

          Violation Report in this matter recommending the defendant’s termination from

          supervision.     ECF No. 50.     The government and the defense have reviewed the

          Pretrial Violation Report and accompanying attachments detailing the underlying

          violation.

       2. The government has spoken to the defendant’s supervising probation agents in the

          Districts of Columbia and Minnesota.

       3. The government and the defense have had conversations regarding the Pretrial

          Violation Report.    Based on the nature of the alleged violation, neither party requests

          revocation or termination of pretrial supervision at this time.
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4. The parties respectfully request that the Court address the violation at the next status

   conference, currently scheduled for January 13, 2023.        Should the Court allow the

   defendant to remain on pretrial supervision, the government will request the Court

   review the defendant’s conditions of release and add any necessary conditions,

   including a condition prohibiting the use of alcohol.


                                      Respectfully submitted,


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                                      D.C. Bar No. 481052

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